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 6

 7   Counsel for Defendant ANARIBA MANCIA

 8

 9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION
12

13     UNITED STATES OF AMERICA,               Case No.: CR 19-428 CRB
14                   Plaintiff,                SENTENCING MEMORANDUM
15            v.
16     PEDRO ANIBAL ANARIBA
       ANARIBA MANCIA,
17
       a.k.a. Pedro Anibal Anariba Muncia
18
                     Defendant.
19

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 1                                           INTRODUCTION
 2          On October 16, 2019, Pedro Anariba Mancia accepted responsibility for selling $20 of
 3   heroin to an undercover officer. For this, Mr. Mancia has already served more than four months
 4   in custody. Mr. Mancia is pleased to join the recommendation of the government for a sentence
 5   of time served.
 6

 7                                            BACKGROUND
 8         Pedro Anariba Mancia was born on September 7, 1994, and grew up in a poverty-stricken
 9   Esquias, Honduras. See PSR ¶ 33. After attending school through only age 12, Mr. Mancia
10   began working in the fields to support his family. See id. ¶ 41. When Mr. Mancia was 14, his
11   father was imprisoned, and died in jail just two years later. See id. ¶ 35. Being the only male
12   still living, Mr. Mancia felt the pressure to provide for his family. This ultimately led to his
13   decision to make the dangerous journey north, hoping to access better employment
14   opportunities. See id. ¶ 35.
15         With very little parental guidance and living on his own, Mr. Mancia started using drugs
16   at a young age. See id. ¶ 40. He used cocaine up until his arrest. Id. Despite his drug use and his
17   lack of immigration status, Mr. Mancia was able to secure steady employment with Teocal
18   Transport in San Leandro as a mechanic’s assistant in February 2018. Id. ¶ 40. Earning just
19   $600 per month with his mechanic job, Mr. Mancia made the mistake of selling drugs to
20   support his drug habit.
21          On August 22, 2019, Mr. Mancia was arrested for selling $20 of heroin to an
22   undercover officer. Id. ¶ 6. The instant offense is the first time Mr. Mancia has even been
23   arrested for selling drugs in the Tenderloin. Yet, since he happened to be arrested after the
24   government began their Federal Initiative for The Tenderloin (“FITT”), on September 5, 2019,
25   the government filed a federal indictment charging Mr. Mancia with 21 U.S.C. 841, federal
26   drug distribution. On October 16, 2019, Mr. Mancia entered a plea agreement in which the
27   government promised to recommend a sentence of time served.
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 1                                             DISCUSSION
 2   A.    The Sentencing Guidelines (18 U.S.C. § 3553(a)(4))
 3          Mr. Mancia stipulates to the Guidelines calculation set forth in the parties’ plea
 4   agreement, which is as follows: base offense level 12, U.S.S.G. § 2D1.1(c)(14), -2 for
 5   acceptance of responsibility, U.S.S.G. § 3E1.1, for a total offense level of 10.
 6          Mr. Torres further concurs that he falls into Criminal History Category II. He receives
 7   two points for a single conviction involving marijuana in the District of Arizona, for which he
 8   received 180 days’ custody.
 9          Although the court must remain mindful of the guideline recommendation, the range
10   established by the Sentencing Guidelines is not presumptively reasonable and it cannot be
11   given any more or less weight than any other factor listed in section 3553(a). United States v.
12   Autery, 555 F.3d 864, 872 (9th Cir. 2009); United States v. Carty, 520 F.3d 984, 991 (9th Cir.
13   2008). The court’s paramount concern must be to “‘impose a sentence sufficient, but not
14   greater than necessary’ to reflect the seriousness of the offense, promote respect for the law,
15   and provide just punishment; to afford adequate deterrence; to protect the public; and to
16   provide the defendant with needed educational or vocational training, medical care, or other
17   correctional treatment.” Carty, 520 F.3d at 991.
18          The government and Mr. Mancia agree that a sentence of time served and three years of
19   supervised release aligns with the goals and factors of section 3553(a).
20
     I. Time Served is Appropriate Given The Offense
21

22          This is not a particularly serious offense. While drug selling undoubtedly poses a threat

23   to the community, Mr. Mancia, a hand-to-hand dealer with his own drug problem, is at the

24   lowest possible level of this problem. The seriousness of the offense does not militate for a

25   longer sentence.

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 1   II. Deterrence and Public Protection is Accomplished with a Sentence of Time Served
     (18 U.S.C. § 3553(a)(2))
 2
            Mr. Mancia’s custodial sentence will followed by immigration detention, deportation,
 3
     and a term of supervised release. Mr. Mancia will be deterred from attempting to make the
 4
     arduous journey north again to face what he knows will be even more severe consequences.
 5
     Mr. Mancia knows that an illegal re-entry after this deportation would be a new federal crime
 6
     and, if he returns within his supervised release term, it would additionally be a violation. He
 7
     fully understands that the consequences for such a decision.
 8
            The requested sentence will also protect the public from any further crimes by Mr.
 9
     Mancia because he will be deported and remain in Honduras.
10
     III. A Sentence of Six Months’ Custody Would Avoid Unwarranted Sentencing
11   Disparities Among Similarly Situated Defendants (18 U.S.C. § 3553(a)(6))
12          Since the applicable guideline range is in Zone B of the Sentencing Table, the Court
13   may impose probation with a condition or combination of conditions requiring intermittent
14   confinement, community confinement, or home detention. U.S.S.G. § 5C1.1(c)(3). However,
15   since Mr. Mancia does not have permission to be in this country, he is not eligible for any of
16   those preferable alternatives to imprisonment expressly recognized in the guidelines.
17   Otherwise, Mr. Mancia would be a perfect candidate for a diversionary or treatment-oriented
18   sentence. Since none of the preferable alternatives to imprisonment are available for Mr.
19   Mancia, the Court should instead vary downward to time served.
20                                            CONCLUSION

21          For the aforementioned reasons, the Court should sentence Mr. Mancia to time served,

22   effectively four months’ imprisonment.

23                                                        Respectfully submitted,
24            Dated: January 9, 2020                      STEVEN KALAR
                                                          Federal Public Defender
25                                                        Northern District of California
26
                                                                    /S
27                                                        SOPHIA WHITING
                                                          Assistant Federal Public Defender
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